       Case 2:22-cv-01644-JMG          Document 93       Filed 04/10/25     Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JOSEPH SIMMONS,                                     :
              Plaintiff,                            :
                                                    :
                      v.                            :      Civil No. 2:22-cv-01644-JMG
                                                    :
THE CITY OF PHILADELPHIA, et al.,                   :
                  Defendants.                       :
__________________________________________

                                           ORDER

       AND NOW, this 9th day of April, 2025, upon consideration of Plaintiff’s Unopposed

Motion to Depose Jabri Riggins (ECF No. 91) and pursuant to Fed. R. Civ. P. 30(a)(2)(B), IT IS

HEREBY ORDERED that Plaintiff’s Motion (ECF No. 91) is GRANTED.

       IT IS FURTHER ORDERED that Counsel for Defendants SHALL be permitted to

depose Jabri Riggins, # QP0885, an incarcerated person, at a time, date, and manner convenient to

the parties and the administration at the Pennsylvania Department of Corrections.



                                                    BY THE COURT:


                                                    /s/ John M. Gallagher
                                                    JOHN M. GALLAGHER
                                                    United States District Court Judge
